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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

DENISHA M. SEALS,             )
     PLAINTIFF                )              CASE NO. 8:22-cv-00420
                              )
VS.                           )              NOTICE TO TAKE
                              )              DEFENDANT’S DEPOSITION
BOARD OF REGENTS OF THE       )
UNIVERSITY OF NEBRASKA,       )
MARGARETTE CHRISTENSEN, PHD., )
          DEFENDANTS.         )
                              )

      To the above-named Defendant and her attorney: PLEASE TAKE NOTICE that
counsel for the Plaintiff will conduct the deposition of Defendant, Dr. Margarette
Christensen, who is requested to be present the 24th day of July, 2024, at 10 a.m.
Said deposition will take place at the law office of:

      Cline Williams Wright Johnson & Oldfather, LLP
      12910 Pierce Street, Suite 200
      Omaha, NE 68144



                                      DENISHA M. SEALS, Plaintiff
                                      Respectfully submitted,

                                      BY: ___/s/ John D. Cartier_/s/__
                                           John D. Cartier #26307
                                           Cartier Law
                                           PO Box 5241
                                           Lincoln, Nebraska 68505
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                                               (954) 319-9832
                                               johncartierlaw@gmail.com




                             CERTIFICATE OF SERVICE
I, John D. Cartier, hereby certify I electronically filed the forgoing on June 6, 2024
with the Clerk of the United States District Court for the District of Nebraska using the
CM/ECF system, which sent an electronic copy to all registered case participants
including the following:
             Tara A. Stingley
             tstingley@clinewilliams.com

             Thomas & Thomas Court Reporters
             schedule@ttcrs.com

                                                ___/s/ John D. Cartier_/s/__
                                               John D. Cartier #26307
                                               Cartier Law
                                               PO Box 5241
                                               Lincoln, Nebraska 68505
                                               (954) 319-9832
                                               johncartierlaw@gmail.com




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